                                         Case 2:16-ap-01337-ER     Doc 37 Filed 12/05/16 Entered 12/05/16 21:41:51             Desc
                                                                    Main Document     Page 1 of 4


                                                WILLIAM E. CROCKETT (SBN 129383)
                                            1   STEVEN R. SKIRVIN (SBN 179946)
                                                LAW OFFICES OF WILLIAM E. CROCKETT
                                            2   16000 Ventura Boulevard, Suite 1000
                                                Woodland Hills, CA 91436
                                            3   Phone: (818) 501-0087
                                                Fax: (818) 501-0092
                                            4   Email: wec@weclaw.com
                                                       srs@weclaw.com
                                            5
                                                Attorneys for Defendant Benjamin Kirk
                                            6
                                            7
                                            8                         UNITED STATES BANKRUPTCY COURT
                                            9                          CENTRAL DISTRICT OF CALIFORNIA
                                                                            LOS ANGELES DIVISION
                                           10
                                                                                                 Case No. 2:16-bk-13575-TD
                                           11    In re:
LAW OFFICES OF WILLIAM E. CROCKETT




                                                 LIBERTY ASSET MANAGEMENT                        Adv. No.: 2:16-ap-01337-TD
   16000 Ventura Boulevard, Suite 1000

    T:(818) 501-0087 F:(818) 501-0092




                                           12    CORPORATION, a California corporation,
                                                                                                 Chapter 11
         Woodland Hills, CA 91436




                                           13
                                                                     Debtor and                  DECLARATION OF DEFENDANT
                                           14                        Debtor in Possession.       BENJAMIN KIRK IN SUPPORT OF
                                                                                                 OPPOSITION TO THE COMMITTEE’S
                                           15                                                    MOTION FOR SUMMARY
                                                                                                 ADJUDICATION OF DEFENDANTS’
                                           16                                                    LIABILITY FOR BREACH OF
                                                                                                 FIDUCIARY DUTIES AND
                                           17                                                    ACCOUNTING
                                           18
                                           19
                                                 OFFICIAL UNSECURED CREDITORS                    Date: December 15, 2016
                                           20    COMMITTEE FOR LIBERTY ASSET                     Time: 11:00 a.m.
                                                 MANAGEMENT CORPORATION,                         Place: Courtroom 1345
                                           21                                                           255 E. Temple Street
                                                                     Plaintiff,                         Los Angeles, CA
                                           22
                                           23    v.

                                           24    LUCY GAO, an individual, and BENJAMIN
                                           25    KIRK, an individual,

                                           26                        Defendants.
                                           27
                                           28




                                                                                             1
                                         Case 2:16-ap-01337-ER             Doc 37 Filed 12/05/16 Entered 12/05/16 21:41:51           Desc
                                                                            Main Document     Page 2 of 4



                                            1   I, Benjamin Kirk, declare as follows:
                                            2           1.       I am a defendant in the above-captioned matter. I have personal knowledge of
                                            3   the matters testified to herein, and if called upon to do so, would competently testify thereto.
                                            4           2.       In or about early 2014, Lucy Gao (“Gao”) took control of assets and entities that
                                            5   were always intended to be for the beneficial interest of Liberty Asset Management
                                            6   Corporation (“Liberty”). However, Gao continued to pay certain obligations of Liberty so that
                                            7   it was able to continue operating for a time. Around this time, Gao excluded me from the
                                            8   business.
                                            9           3.       Liberty did business by acquiring properties and placing them into single
                                           10   purpose entities that were assets of Liberty.
                                           11           4.       I later learned that later in 2014-2015, Gao disabled some of Liberty’s
LAW OFFICES OF WILLIAM E. CROCKETT
   16000 Ventura Boulevard, Suite 1000

    T:(818) 501-0087 F:(818) 501-0092




                                           12   operations, stopped paying creditors and started selling Liberty assets. Until this time, Liberty
         Woodland Hills, CA 91436




                                           13   was able to pay its obligations on time and owned directly or beneficially sufficient assets to
                                           14   satisfy its liabilities.
                                           15           5.       During 2014-2015 I tried to work with Gao to get her to pay creditors as I
                                           16   believed that was the best approach for Liberty. Many times she said she would, but when time
                                           17   came to pay, she refused. Once I realized that my efforts were fruitless, I started interviewing
                                           18   attorneys the second half of 2015 to try to figure out a solution.
                                           19           6.       I learned in approximately late 2015 that Gao deleted my emails and the emails
                                           20   of my assistant Vanessa Lavandera.
                                           21           7.       In March 2016, I contacted the police to gain access to Liberty’s offices. She
                                           22   told the police to escort me out (and they did) because she had transferred title of Liberty’s
                                           23   offices to herself.
                                           24           8.       I was unable to convince Gao to give me back some measure of control of
                                           25   Liberty.
                                           26           9.       I never consented to Gao’s exercise of control and claims of ownership of funds
                                           27   and properties belonging beneficially or in name to Liberty (regardless of the entity they were
                                           28   held in).




                                                                                                 2
Case 2:16-ap-01337-ER   Doc 37 Filed 12/05/16 Entered 12/05/16 21:41:51   Desc
                         Main Document     Page 3 of 4
          Case 2:16-ap-01337-ER                              Doc 37 Filed 12/05/16 Entered 12/05/16 21:41:51                                                     Desc
                                                              Main Document     Page 4 of 4



                                                  PROOF  OF  SERVICE  OF  DOCUMENT  
  
I  am  over  the  age  of  18  and  not  a  party  to  this  bankruptcy  case  or  adversary  proceeding.    My  business  address  is:  
16000  Ventura  Blvd.,  Suite  1000,  Encino,  CA  91436.  
  
  
A  true  and  correct  copy  of  the  foregoing  document  entitled  (specify):   DECLARATION OF BENJAMIN KIRK                                                               IN
SUPPORT OF OPPOSITION TO COMMITTEE’S MOTION FOR SUMMARY ADJUDICATION
will  be  served  or  was  served  (a)  on  the  judge  in  chambers  in  the  form  and  manner  required  by  LBR  5005-­2(d);;  and  (b)  in  
the  manner  stated  below:  
  
1.    TO  BE  SERVED  BY  THE  COURT  VIA  NOTICE  OF  ELECTRONIC  FILING  (NEF):    Pursuant  to  controlling  General  
Orders  and  LBR,  the  foregoing  document  will  be  served  by  the  court  via  NEF  and  hyperlink  to  the  document.  On  
December  5,  2016,  I  checked  the  CM/ECF  docket  for  this  bankruptcy  case  or  adversary  proceeding  and  determined  that  
the  following  persons  are  on  the  Electronic  Mail  Notice  List  to  receive  NEF  transmission  at  the  email  addresses  stated  
below:      
  
      Alexandre  I  Cornelius  aicornelius@costell-­law.com,  ssaad@costell-­law.com;;mharris@costelllaw.com;;  
      jstambaugh@costell-­law.com;;ladelson@costell-­law.com;;jlcostell@costell-­law.com  
     Gail  S  Greenwood  ggreenwood@pszjlaw.com,  efitzgerald@pszjlaw.com  
     Jeremy  V  Richards  jrichards@pszjlaw.com,  bdassa@pszjlaw.com;;  imorris@pszjlaw.com  
     United  States  Trustee  (LA)  ustpregion16.la.ecf@usdoj.gov  
     James  S  Yan  jsyan@msn.com  
  
                                                                                          Service  information  continued  on  attached  page  
  
2.    SERVED  BY  UNITED  STATES  MAIL:      
On  (date)  December  5,  2016,  I  served  the  following  persons  and/or  entities  at  the  last  known  addresses  in  this  bankruptcy  
case  or  adversary  proceeding  by  placing  a  true  and  correct  copy  thereof  in  a  sealed  envelope  in  the  United  States  mail,  
first  class,  postage  prepaid,  and  addressed  as  follows.  Listing  the  judge  here  constitutes  a  declaration  that  mailing  to  the  
judge  will  be  completed  no  later  than  24  hours  after  the  document  is  filed.  
  
  
                                                                                          Service  information  continued  on  attached  page  
  
3.    SERVED  BY  PERSONAL  DELIVERY,  OVERNIGHT  MAIL,  FACSIMILE  TRANSMISSION  OR  EMAIL  (state  method  
for  each  person  or  entity  served):    Pursuant  to  F.R.Civ.P.  5  and/or  controlling  LBR,  on  (date)  December  5,  2016,  I  served  
the  following  persons  and/or  entities  by  personal  delivery,  overnight  mail  service,  or  (for  those  who  consented  in  writing  to  
such  service  method),  by  facsimile  transmission  and/or  email  as  follows.    Listing  the  judge  here  constitutes  a  declaration  
that  personal  delivery  on,  or  overnight  mail  to,  the  judge  will  be  completed  no  later  than  24  hours  after  the  document  is  
filed.  
Hon.  Thomas  B.  Donovan  
United  States  Bankruptcy  Court  
255  E.  Temple  Street,  Suite  1352  
Los  Angeles,  CA  90012  
  
                                                                                          Service  information  continued  on  attached  page  
  
I  declare  under  penalty  of  perjury  under  the  laws  of  the  United  States  that  the  foregoing  is  true  and  correct.  
  
   December  5,  2016                        Steven  R.  Skirvin                             /s/  Steven  R.  Skirvin  
   Date                         Printed  Name                                                Signature  




               This  form  is  mandatory.    It  has  been  approved  for  use  by  the  United  States  Bankruptcy  Court  for  the  Central  District  of  California.  
                                                                                              

June  2012                                                                                                             F  9013-­3.1.PROOF.SERVICE
